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                                 EXHIBIT A

                                (Certification)
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SNR Denton US LLP
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Special Counsel for Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------x
                                                                    :
In re                                                               :   Chapter 11 Case No.
                                                                    :
LEHMAN BROTHERS HOLDINGS INC., et al., :                                08-13555 (JMP)
                                                                    :
                                    Debtors.                        :   (Jointly Administered)
                                                                    :
------------------------------------------------------------------- x

                   CERTIFICATION UNDER GUIDELINES FOR FEES
               AND DISBURSEMENTS FOR PROFESSIONALS IN RESPECT
                  OF FINAL APPLICATION OF SNR DENTON US LLP
              FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES

        I, Hugh M. McDonald, hereby certify that:

        1.       I am a partner with the applicant firm, SNR Denton US LLP (“SNR Denton”),

with responsibility for the chapter 11 cases of Lehman Brothers Holdings Inc. and certain of its

affiliates, as debtors in possession in the above-captioned cases (collectively, the “Debtors”), in

respect of compliance with the Guidelines for Fees and Disbursements for Professionals in

Southern District of New York Bankruptcy Cases adopted by the Court on June 20, 1991 (the

“Fee and Disbursement Guidelines”) and the Amended Guidelines for Fees and Disbursements

for Professionals in Southern District of New York Bankruptcy Cases adopted by the Court on

April 19, 1995 (together with the Fee and Disbursement Guidelines, the “Local Guidelines”), the

United States Trustee Guidelines for Reviewing Applications for Compensation and

Reimbursement of Expenses Filed Under 11 U.S.C. § 330, adopted on January 30, 1996 (the
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“U.S. Trustee Guidelines”) and Fourth Amended Order Pursuant to Sections 105(a) and 331 of

the Bankruptcy Code and Bankruptcy Rule 2016(a) Establishing Procedures for Interim Monthly

Compensation and Reimbursement of Expenses of Professionals [Docket No. 15997] (the

“Interim Compensation Order,” and together with the Local Guidelines and the UST Guidelines,

the “Guidelines”).

       2.      This certification is made in respect of SNR Denton’s application, dated July 3,

2012 (the “Application”), for final allowance of compensation and reimbursement of expenses

for the period commencing January 1, 2010 through and including March 6, 2012 (the “Total

Compensation Period”) in accordance with the Guidelines.

       3.      In respect of section 2 of the Fee and Disbursement Guidelines, I certify that SNR

Denton reviewed the Application and has approved it.

       4.      In respect of section B.1 of the Local Guidelines, I certify that:

               a.      I have read the Application;

               b.      to the best of my knowledge, information, and belief formed after
                       reasonable inquiry, the fees and disbursements sought fall within the Local
                       Guidelines;

               c.      the fees and disbursements sought are billed at rates in accordance with
                       those customarily charged by SNR Denton and generally accepted by SNR
                       Denton’s clients; and

               d.      in providing a reimbursable service, SNR Denton does not make a profit
                       on that service, whether the service is performed by SNR Denton in-house
                       or through a third party.

       5.      In respect of section B.2 of the Local Guidelines and as required by the

Administrative Order, I certify that SNR Denton has complied with these provisions requiring it

to provide counsel for the statutory committee of unsecured creditors appointed in these cases

(the “Committee”) and the Debtors, with a statement of SNR Denton’s fees and disbursements

accrued during the previous months.
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       6.     In respect of section B.3 of the Local Guidelines, I certify that the Debtors,

attorneys for the Committee, and the United States Trustee for the Southern District of New

York are each being provided with a copy of the Application.

Dated: July 3, 2012
       New York, New York                    SNR DENTON US LLP

                                             /s/ Hugh M. McDonald
                                             Hugh M. McDonald

                                             SNR Denton US LLP
                                             1221 Avenue of the Americas
                                             New York, New York 10020
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                                             Special Counsel for Debtors and
                                             Debtors in Possession
